Case 04-03774 Doc2 Filed 10/12/04 Entered 10/12/Q¢

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B04 ERGBRY PROCREDIIE, NUMBER
(Rev. 2/22) ADVERSARY PROCEEDING COVER SHEET (Court se Orly) &
(Instructions on Reverse)
PLAINTIFFS ce DO | DEFENDANTS -
‘Rollin J. Soskin, Eugene Terry, ‘Vicki E. Esralew, Robert Aren,
Nicole Terry and Terry's Company, Inc. . and Neil A. Reisman
Nyy &P Tp
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"asp,
ATTORNEYS (Firm Name, Address, and Telephone No.) : ATTORNEYS (if Known) “e & Os 10g
Thomas C. Crooks, Attorney at Law Vicki Esralew ~~ Gina B BES oy.
Three First National Plaza; Suite 1950 ’ OE %
Chicago, IL 60602: on . : oe IK
(312) "641-2260 et we
PARTY (Check one box only) OC 1 -US. PLAINTIFF ~ (22 US. DEFENDANT fi) 3 U.S. NOT A PARTY
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Objection to discharge based upon fraud, breach of fiduciary duty and willful and
malicious behavior under 1] U.S.C. §523{a)(2)(A), §523€a)(4), §523(a)(6).
NATURE OF SUIT
{Check the one most appropriate Dox only.) .
[] 454 To Recover Money or Property. O) 455 To revoke an order of confirmation of [ 456.To obtain a declaratory judgment
~ aChap. 11,Chap. 12, or Chap. 13 Plan Yelating to any of foregoing causes
T ine Validity, Priority, or. action
CI 435 tert of a Lien or Other interest in [] 426 To determine the dischargeability of a oe oo
Property debt 11 US &.§ 523 _. 0 459 To determine a claim or cause of
- - ¥ ~action removed to a bankruptcy
O 458 Toobtainapprovalfortheseleotboth [11-434 To obtain’ an injunction or other court
the interest of the estate and of a equitable relief | + oo .
co—owner in property K] 498 Other (specify) ancillary
(C0 457 To subordinate any allowed claim or action for damages
[3] 424 To object or to revoke a discharge OG eign prowea napit Are pe
ViUS.C.§ 727 whe: cos _ ation is prc od in a plan: fa
ORIGIN fa 1 Original (©) 2 Removed: - 0 4 Reinstated | oO 5 Transferred
PROCEEDINGS Proceeding. — Proceeding. / fe 0 GTION UNDER FRG 23
(Check one box only.) me ii -R.C.P.
NEAREST REST THOUSAND OTHER JURY
DEMAND $ Gl | UO DEMAND
BANKRUPTCY CASE IN WHIGHT THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR . py BANKRUFTCY: ‘CASE NO.
Vicki E. Esralew- eed 04-B-24393
DISTRICT IN WHICH CASE IS PENDING ‘DIVISIONAL OFFICE a NAME OF JUDGE
Northern District Lake County Goldgar
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY PROCEEDING NO.
DISTRICT DIVISIONAL OFFICE NAME OF JUDGE
FILING (Check one box only.) {8 FEE ATTACHED () FEE NOT REQUIRED (1 FEEIS DEFERRED ‘

FEE

DATE PRINT NAME SIG OP ft LORINEY (OR PLAINTIFF)
Oct. 12, 2004 | Thomas C. Crooks )

